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The Honorable Royce C. Lamberth,
333 Constitution Avenue N.W. Washington, D.C. 20001

March 14, 2024 Lia GFi-3
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Judge Lamberth, — o fpr
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| am writing this letter for Taylor Johnatakis, who is currently an inmate awaiting
sentencing from the January 6™ protests on Capitol Hill.

| attended a class with Mr. Johnatakis over the last year, until he was convicted
in November of 2023. | consider Mr. Johnatakis a mentor within our class and
his presence is greatly missed by many fellow students. | have since listened to
some of his podcasts and read his writings - | am inspired with his passion to
make our world a better place.

| realize he has overcome several intense adversities in life, one of which was
losing a child. His wife and 5 children are active participants in their community
and are small business owners. | feel like Mr. Johnatakis could be any middle-
class working American trying to stand for First Amendment rights. If he is
sentenced longer, what position does that put the rest of us in regarding our
rights?

My husband and | made the trip to Washington DC to visit Mr. Johnatakis in jail.
We have been able to listen to the nightly Virgil’s online and hear other similar
inmate stories about being hard working middle-class citizens - a truly under-
represented class. Mr. Johnatakis has been upbeat and optimistic even during
this extremely wearing time away from his family and community in the
Washington DC jail. | believe it’s for the future benefit of his children, that they
have their father.

| believe Mr. Johnatakis went to Washington DC that day to protest about
something passionate to his belief system. | believe he has repented of all his
sins and | whole heartedly believe he will be a stronger mentor, better father,
caring husband and impactful community participant when you release him.

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Kindly,
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LAD
edna buchott
